Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 1 of 22 Page ID #:320




   1   Peter Anderson, Esq., Cal. Bar No. 88891
              peteranderson@dwt.com
   2   Sean M. Sullivan, Esq., Cal. Bar No. 229104
              seansullivan@dwt.com
   3   Eric H. Lamm, Esq., Cal. Bar No. 324153
              ericlamm@dwt.com
   4   DAVIS WRIGHT TREMAINE LLP
       865 South Figueroa Street, 24th Floor
   5   Los Angeles, CA 90017-2566
       Tel: (213) 633-6800
   6   Fax: (213) 633-6899
   7   Attorneys for Defendants
       ABEL TESFAYE, HAL LEONARD LLC,
   8   UNIVERSAL MUSIC GROUP, INC.,
       UNIVERSAL MUSIC PUBLISHING, INC.,
   9   UNIVERSAL MUSIC CORP., MATTITUDE
       MUSIC LLC, APPLE INC., HIPGNOSIS SONGS
  10   GROUP, LLC, and AMAZON.COM, INC.
  11                        UNITED STATES DISTRICT COURT
  12                      CENTRAL DISTRICT OF CALIFORNIA
  13                               WESTERN DIVISION
  14   NEIL FOX PAREKH pka SUNIEL              )     Case No. 2:21-cv-07488-FLA-KESx
       FOX, an individual; and SHYHI           )
  15   HENRY HSAIO pka HENRY                   )
  16   STRANGE, an individual;                 )     DEFENDANTS’ REPLY IN
                                               )     SUPPORT OF MOTION FOR ORDER
  17                                           )     (1) BIFURCATING DISCOVERY OR,
                   Plaintiffs,                 )     ALTERNATIVELY, (2) SETTING
  18                                           )     EARLY EXPERT DISCLOSURE
  19         v.                                )     AND DISCOVERY DATES AS TO
                                               )     THE EXTRINSIC TEST, AND
  20   ABEL MAKKONEN TESFAYE pka               )     (3) PERMITTING EARLY
       THE WEEKND, an individual; ADAM         )     SUMMARY JUDGMENT MOTION
  21   KING FEENEY pka FRANK DUKES,            )     AS TO THE EXTRINSIC TEST
       an individual; NICOLAS ALFREDO          )
  22   JAAR pka A.A.L., AGAINST ALL            )
  23   LOGIC, and/or NICO, an individual;      )
       THE WEEKND XO, LLC; THE                 )     Date: April 8, 2022
  24   WEEKND XO US LLC; THE                   )     Time: 1:30 p.m.
       WEEKND XO, INC.; THE WEEKND             )
  25   XO MUSIC, ULC; XO&CO., INC.;            )          Courtroom of the Honorable
  26   UNIVERSAL MUSIC                         )           Fernando L. Aenlle-Rocha
       CORPORATION; UNIVERSAL                  )          United States District Judge
  27   MUSIC GROUP, INC.; UNIVERSAL            )
                                               )
  28            [Continued next page]
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 2 of 22 Page ID #:321




   1   MUSIC PUBLISHING, INC.,               )
       individually and dba UNIVERSAL        )
   2   MUSIC PUBLISHING GROUP; UMG           )
   3   RECORDINGS, INC.; REPUBLIC            )
       RECORDS, INC.; XO RECORDS             )
   4   LLC; KOBALT MUSIC PUBLISHING          )
       AMERICA, INC.; AMERICAN               )
   5   MUSIC RIGHTS ASSOCIATION,             )
   6   INC.; SONGS MUSIC PUBLISHING,         )
       LLC; NYAN KING MUSIC, INC.;           )
   7   MATTITUDE MUSIC, LLC;                 )
       PEERMUSIC LTD.; PEERMUSIC III,        )
   8   LTD.; SONY MUSIC PUBLISHING           )
       LLC; EMI CONSORTIUM MUSIC             )
   9   PUBLISHING, LTD; HAL LEONARD          )
  10   LLC; HIPGNOSIS SONGS GROUP,           )
       LLC; BROADCAST MUSIC, INC.;           )
  11   ASCAP ENTERPRISES LLC;                )
       YOUTUBE ENTERTAINMENT                 )
  12   STUDIOS, INC.; APPLE INC.,            )
  13   individually and dba APPLE MUSIC;     )
       AMAZON, INC., individually and dba    )
  14   AMAZON MUSIC; VIMEO.COM,              )
       INC.; SPOTIFY USA, INC.; and DOES     )
  15   1 through 10,                         )
                                             )
  16              Defendants.                )
  17                                         )
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Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 3 of 22 Page ID #:322




   1                                        TABLE OF CONTENTS
   2                                                                                                                   Page
   3   REPLY MEMORANDUM OF POINTS AND AUTHORITIES ................................1
   4
       1.   INTRODUCTION ..............................................................................................1
   5
       2.   THE COURT SHOULD BIFURCATE DISCOVERY AS TO THE
   6        EXTRINSIC TEST.............................................................................................3
   7
            (a)     The Court Has Discretion to Bifurcate Discovery as to Any Issue,
   8                Including Elements of Liability ...............................................................3
   9        (b)     Bifurcation Serves the Interests of Judicial Economy and Efficiency
  10                and Avoids Prejudice ...............................................................................4
  11                (1)      The Extrinsic Test Is a Potentially Dispositive Issue ....................4
  12                         i.       Plaintiffs Concede the Extrinsic Test Can Be Decided
  13                                  on Summary Judgment ........................................................4
  14                         ii.      There Are Significant Reasons to Conclude Plaintiffs
  15                                  Will Be Unable to Satisfy the Extrinsic Test ......................5

  16                (2)      Plaintiffs Fail to Identify Any Factual or Legal Issues,
                             Evidence, or Discovery that Overlap with the Extrinsic Test .......7
  17
  18                (3)      Bifurcation Will Defer Extensive and Potentially Unnecessary
                             Discovery .......................................................................................9
  19
                    (4)      Bifurcation Will Not Be Inefficient, Wasteful, or “Multiply
  20
                             the Proceedings” ..........................................................................10
  21
                    (5)      Plaintiffs Fail to Show Any Legitimate Prejudice from
  22                         Bifurcation ...................................................................................11
  23
                             i.       Plaintiffs Can Meet the Proposed Disclosure and
  24                                  Discovery Dates for the Extrinsic Test .............................11
  25                         ii.      Defendants Did Not “Concede That Bifurcation Will
  26                                  Delay Proceedings by at Least Three Months” .................12
  27
  28
                                                                i
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 4 of 22 Page ID #:323




   1                         iii.     Bifurcation Will Not Give Defendants “Two Bites at the
                                      Apple,” “Force Plaintiffs to Take the Case to Trial,” or
   2                                  “Contravene the Court’s Standing Order” ........................13
   3        (c)     Good Cause Exists to Grant Defendants’ Alternative Relief ................14
   4
       3.   CONCLUSION ................................................................................................15
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                             ii
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 5 of 22 Page ID #:324




   1                                          TABLE OF AUTHORITIES
   2                                                                                                                Page(s)
       Cases
   3
   4   Advertise.com, Inc. v. AOL, LLC, No. CV 09–5983,
         2011 WL 13186156 (C.D. Cal. Aug. 15, 2011) ...................................................... 3
   5
       Bassil v. Webster, 220CV05099SBPDX,
   6
         2021 WL 1235258 (C.D. Cal. Jan. 15, 2021) ....................................................8, 10
   7
       Beco Dairy Automation, Inc. v. Glob. Tech Sys., Inc., No.
   8      112CV01310LJOSKO,
   9      2016 WL 5870117 (E.D. Cal. Oct. 6, 2016) .........................................................12
  10   Benay v. Warner Bros. Entm’t,
  11     607 F.3d 620 (9th Cir. 2010), overruled on other grounds by
         Skidmore v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020) ...................................... 8
  12
       Butzberger v. Novartis Pharma. Corp., No. 08-81287CIV,
  13      2009 WL 10700433 (S.D. Fl. June 24, 2009) ......................................................... 4
  14
       Clover v. Tesfaye, No. 20-55861,
  15      2021 WL 4705512 (9th Cir. Oct. 8, 2021) .............................................................. 6
  16   Craigslist Inc. v. 3Taps Inc.,
  17     942 F. Supp. 2d 962 (N.D. Cal. 2013)...............................................................9, 10
  18   Ellingson Timber Co. v. Great N. Ry. Co.,
  19      424 F.2d 497 (9th Cir. 1970) ...............................................................................3, 9

  20   Exxon Co. v. Sofec Inc.,
          54 F.3d 570 (9th Cir. 1995) ..................................................................................... 4
  21
  22   Feist Publ’ns, Inc. v. Rural Tel. Serv. Co.,
          499 U.S. 340 (1991) ................................................................................................ 9
  23
       Funky Films, Inc. v. Time Warner Entm’t Co., L.P.,
  24     462 F.3d (9th Cir. 2006) .......................................................................................... 8
  25
       Giglio v. Monsanto Co., No. 15-cv-2279,
  26      2016 WL 4098285 (S.D. Cal. 2016)........................................................................ 4
  27
       Granite Music Corp. v. United Artists Corp.,
  28     532 F.2d 718 (9th Cir. 1978) ................................................................................... 6
                                                                  iii
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 6 of 22 Page ID #:325




   1   Gray v. Hudson, No. 20-55401,
         2022 WL 711246 (9th Cir., Mar. 10, 2022) ........................................................5, 6
   2
       In re Bendectin Litig.,
   3       857 F.2d 290 (6th Cir. 1988) ................................................................................... 3
   4
       In re Paris Air Crash,
   5       69 F.R.D. 310 (C.D. Cal. 1975)...........................................................................1, 3
   6   Jinro Am. Inc. v. Secure Investments, Inc.,
   7      266 F.3d 993 (9th Cir. 2001) ................................................................................... 4
   8   Johannsongs-Pub. Ltd. v. Loveland, No. CV 18-1009,
   9      2020 WL 2315805 (C.D. Cal. Apr. 3, 2020), aff’d, No. 20-55552,
          2021 WL 5564626 (9th Cir. Nov. 29, 2021) .......................................................6, 8
  10
       Johannsongs-Publ’g, Ltd. v. Lovland, No. 20-55552,
  11
          2021 WL 5564626 (9th Cir. Nov. 29, 2021) ........................................................... 5
  12
       Johnson v. Tuff N Rumble Mgmt., Inc., No. Civ. A 99-1374,
  13      2000 WL 690287 (E.D. La. May 26, 2000) ..........................................................12
  14
       Lutron Elec. Co., Inc. v. Crestron Elec., Inc., No. 09–cv–00707,
  15      2013 WL 2099739 (D. Ut., May. 14, 2013) ............................................................ 8
  16   McDonald v. West,
  17     138 F. Supp. 3d 448 (S.D.N.Y. 2015) ..................................................................... 6

  18   Mformation Techs., Inc. v. Rsch. in Motion Ltd., No. C 08-04990,
         2012 WL 1142537 (N.D. Cal. Mar. 29, 2012) ........................................................ 7
  19
  20   Moreno v. NBCUniversal Media, LLC, No. CV13-1038,
         2013 WL 12123988 (C.D. Cal. Sept. 30, 2013) ............................................2, 7, 10
  21
       Reed v. AutoNation, Inc., No. CV1608916,
  22
          2017 WL 6940519 (C.D. Cal. Apr. 20, 2017) ...........................................10, 11, 14
  23
       Rentmeester v. Nike, Inc.,
  24     883 F.3d 1111 (9th Cir. 2018), overruled on other grounds by
  25     Skidmore, 952 F.3d 1051 ......................................................................................... 8
  26   Skidmore v. Led Zeppelin,
          952 F.3d 1051 (9th Cir. 2020) .......................................................................5, 6, 13
  27
  28
                                                                 iv
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 7 of 22 Page ID #:326




   1   Smith v. Alyeska Pipeline Serv. Co.,
         538 F. Supp. 977 (D. Del. 1982) ............................................................................. 4
   2
       Wixen Music Pub., Inc. v. Triller Inc., No. 20-cv-10515,
   3     2021 WL 4816627 (C.D. Cal. Aug. 11, 2021) ........................................3, 4, 11, 12
   4
       Yeasayer, LLC v. Tesfaye, U.S.D.C. Case No. 1:20-cv-01608-LGS
   5      (S.D.N.Y.) ............................................................................................................5, 6
   6   Zahedi v. Miramax, No. CV 20-4512,
   7     2021 WL 3260603 (C.D. Cal., Mar. 24, 2021) ....................................................... 3
   8   Rules
   9   California Local Rule 7-3 ...........................................................................................11
  10
       Federal Rule of Civil Procedure
  11      26(f) .......................................................................................................................12
  12      42(b).....................................................................................................................3, 4
          56(a) .......................................................................................................................13
  13
       Other Authorities
  14
  15   Wright & Miller, 9A Fed. Prac. & Proc. Civ. § 2387 (3d ed.) ..................................... 3

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  18
  19
  20
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Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 8 of 22 Page ID #:327




   1            REPLY MEMORANDUM OF POINTS AND AUTHORITIES
   2   1.    INTRODUCTION
   3         Plaintiffs fail to identify a single legitimate reason not to grant Defendants’
   4   Motion and bifurcate discovery into (1) an initial phase to address whether Plaintiffs
   5   can meet the extrinsic test as a matter of law (with discovery as to remaining issues of
   6   liability and damages stayed) and (2) if necessary, a second phase to determine
   7   remaining issues of liability and damages.
   8         First, Plaintiffs concede that the extrinsic test can be decided on summary
   9   judgment and is potentially dispositive of this entire action, which is one factor
  10   (among many) favoring bifurcation. Furthermore, other than briefly mentioning the
  11   selection and arrangement doctrine—without explaining why it applies (it does not)
  12   —Plaintiffs fail to show how they could meet the extrinsic test here. Plaintiffs’
  13   Opposition thus shows that there is a real chance this case will be resolved at the first
  14   phase of discovery and therefore that bifurcation will save resources and time.
  15         Second, the extrinsic test is discrete and separable because the relevant issues,
  16   and the two expert reports and expert testimony needed to decide them, do not overlap
  17   with or duplicate others in this case in a way that could cause inefficiencies,
  18   inconvenience, or prejudice. Plaintiffs’ argument that individual elements of liability
  19   cannot be separable is directly contrary to law: bifurcation can be ordered as to “any
  20   kind of issue in any kind of case.” In re Paris Air Crash, 69 F.R.D. 310, 320 (C.D.
  21   Cal. 1975).
  22         Third, bifurcation will further serve the interests of economy and efficiency,
  23   and avoid prejudice, because engaging in significant, intrusive, and burdensome
  24   discovery as to all issues if Plaintiffs cannot even meet the extrinsic test would be a
  25   complete waste of the Court’s, Defendants’, and even the Plaintiffs’ time and
  26   resources. Plaintiffs’ attempts to write off these considerations as “speculative” are
  27   sophistical. Opp. (Doc. 56) at 3. Defendants are not required to show that Plaintiffs
  28   are guaranteed to fail on the extrinsic test. Rather, courts ask whether there is a
                                                    1
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 9 of 22 Page ID #:328




   1   “chance that separation will lead to economy in discovery” and that chance exists here.
   2   Moreno v. NBCUniversal Media, LLC, No. CV13-1038, 2013 WL 12123988 at *2
   3   (C.D. Cal. Sept. 30, 2013). In any event, bifurcation indisputably will defer possibly
   4   unnecessary discovery, and that is a permissible reason to order bifurcation. On the
   5   other hand, Plaintiffs’ claim that a single phase of discovery is more efficient depends
   6   on the false premise that Defendants are seeking to adjudicate one issue multiple
   7   times: Plaintiffs have not identified any overlapping issues, and Defendants are merely
   8   requesting that otherwise necessary discovery on the extrinsic test proceed first.
   9          Finally, Plaintiffs’ arguments regarding prejudice are misguided. Defendants
  10   never conceded that bifurcation will cause any delay. Defendants have proposed the
  11   same trial date with bifurcation as Plaintiffs have without. But even a speculative
  12   delay of a few months does not outweigh the other considerations above. Moreover,
  13   Plaintiffs do not dispute that they already have their musicologist and they can meet
  14   the proposed early dates for experts disclosure and discovery as to the extrinsic test.
  15          Furthermore, Plaintiffs cannot seriously claim to be prejudiced by the
  16   possibility that if Defendants “move for summary judgment in the first phase and this
  17   Court finds a triable issue . . . this Court’s finding would . . . force [Plaintiffs] to take
  18   [their] case to and through trial.” Opp. at 4, 18. Nor does the possibility that Plaintiffs
  19   might succeed on the extrinsic test but lose on a different element equate to giving
  20   Defendants “multiple bites at the apple.” That possibility exists even if bifurcation
  21   were denied because Plaintiffs bear the burden of proof on all elements of their claims.
  22          Lastly, nothing about Defendants’ requested relief, or Defendants’ alternative
  23   relief, violates this Court’s Standing Order. That order permits multiple summary
  24   judgment motions for good cause on noticed motion and that is exactly what
  25   Defendants have sought and shown is appropriate here. Defendants’ Motion should
  26   accordingly be granted.
  27   ///
  28   ///
                                                     2
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 10 of 22 Page ID #:329




   1   2.    THE COURT SHOULD BIFURCATE DISCOVERY AS TO THE
   2         EXTRINSIC TEST
   3         (a)    The Court Has Discretion to Bifurcate Discovery as to Any Issue,
   4                Including Elements of Liability
   5         Plaintiffs cannot dispute that the Court has “broad discretion” under Rule 42(b)
   6   to bifurcate proceedings as to the extrinsic test and to stay discovery on remaining
   7   issues.1 Wixen Music Pub., Inc. v. Triller Inc., No. 20-cv-10515, 2021 WL 4816627
   8   at *1, *4 (C.D. Cal. Aug. 11, 2021); Ellingson Timber Co. v. Great N. Ry. Co., 424
   9   F.2d 497, 499 (9th Cir. 1970).
  10         Plaintiffs nevertheless seek to hobble this discretion by claiming that “elements
  11   within a claim of liability” are not “issues considered ‘separable’ for bifurcation
  12   purposes.” Opp. at 3, 7. Not so: Federal Rule of Civil Procedure 42(b) allows the
  13   Court “discretion[] to grant a separate trial of any kind of issue in any kind of case.”
  14   Wright & Miller, 9A Fed. Prac. & Proc. Civ. § 2387 (3d ed.) (emphasis added); In re
  15   Bendectin Litig., 857 F.2d 290, 308 (6th Cir. 1988); Paris Air Crash, 69 F.R.D. at 320.
  16         In fact, courts often bifurcate elements of a claim of liability where, as the
  17   extrinsic test is here, they are otherwise separable under the facts of the case. See,
  18   e.g., Zahedi v. Miramax, No. CV 20-4512, 2021 WL 3260603 at *2 (C.D. Cal.,
  19   Mar. 24, 2021) (bifurcating discovery into initial phase to determine copyright
  20   ownership, one element of copyright infringement, from “remaining issues of liability
  21   and damages”); Advertise.com, Inc. v. AOL, LLC, No. CV 09–5983, 2011 WL
  22   13186156 at *3 (C.D. Cal. Aug. 15, 2011) (bifurcating trademark validity, one
  23
       1
  24          Plaintiffs falsely accuse Defendants of failing to address whether good cause
       exists to stay discovery. Opp. at 19-20. Good cause exists for the reasons that support
  25   bifurcating discovery because “staying discovery on [remaining issues] is appropriate
  26   and necessary in order to effectuate the reason for [bifurcation].” Wixen, 2021 WL
       4816627, at *4. And a stay is particularly necessary to avoid prejudice caused by
  27   forcing Defendants to undertake costly and potentially unnecessary discovery before
  28   the extrinsic similarity issue is decided. See, e.g., Mot. at 21-22.
                                                  3
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 11 of 22 Page ID #:330




   1   element of trademark infringement); Jinro Am. Inc. v. Secure Investments, Inc., 266
   2   F.3d 993, 998 (9th Cir. 2001) (bifurcating contract formation element of breach of
   3   contract). Even complex, fact- and expert-intensive elements like causation can be
   4   “threshold issue[s]” for purposes of bifurcation where they are otherwise separable.
   5   Giglio v. Monsanto Co., No. 15-cv-2279, 2016 WL 4098285, at *2 (S.D. Cal. 2016)
   6   (causation element was a “threshold issue on which all of plaintiff’s claims rest”);
   7   Butzberger v. Novartis Pharma. Corp., No. 08-81287CIV, 2009 WL 10700433, at *1
   8   (S.D. Fl. June 24, 2009) (similar); see also Exxon Co. v. Sofec Inc., 54 F.3d 570, 575
   9   (9th Cir. 1995) (bifurcating negligence trial on issue of whether, assuming failure of
  10   mooring system was cause in fact of plaintiffs’ boat crash, failure was proximate
  11   cause).
  12         Thus, that Defendants seek to bifurcate an element of liability is neither here
  13   nor there. Bifurcation is granted “on a case-by-case basis” after consideration of
  14   factors including judicial economy, convenience, and potential prejudice. Smith v.
  15   Alyeska Pipeline Serv. Co., 538 F. Supp. 977, 982 (D. Del. 1982); see Fed. R. Civ. P.
  16   42(b). Those factors favor bifurcation here.
  17         (b)    Bifurcation Serves the Interests of Judicial Economy and Efficiency
  18                and Avoids Prejudice
  19                (1)    The Extrinsic Test Is a Potentially Dispositive Issue
  20                              Plaintiffs Concede the Extrinsic Test Can Be Decided on
  21                              Summary Judgment
  22         One consideration that favors bifurcation and dealing first with the extrinsic test
  23   —but by no means the only consideration—is that the extrinsic test can potentially
  24   decide this entire case on summary judgment. Wixen, 2021 WL 4816627 at *2
  25   (“Bifurcation is particularly appropriate when resolution of a single . . . issue could be
  26   dispositive of the entire case.”) (citation omitted).
  27         Defendants showed that the extrinsic test is an essential element of all of
  28   Plaintiffs’ claims and can be decided on summary judgment, even in musical
                                                    4
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 12 of 22 Page ID #:331




   1   composition cases involving conflicting expert reports. See Mot. (Doc. 51-1) at 6-9.
   2   Plaintiffs concede these points, and while they argue that “extrinsic similarity is not
   3   ‘often’ decided on summary judgment” (Opp. at 9), the Court of Appeals disagrees.
   4   Gray v. Hudson, No. 20-55401, 2022 WL 711246 at *5 (9th Cir., Mar. 10, 2022) (“the
   5   extrinsic test is objective and is often resolved as a matter of law . . . summary
   6   judgment is often granted on this issue”).
   7                               There Are Significant Reasons to Conclude Plaintiffs
   8                               Will Be Unable to Satisfy the Extrinsic Test
   9          Plaintiffs note that “[s]ummary judgment is not highly favored on questions of
  10   substantial similarity . . . [w]here reasonable minds could differ” ((Opp. at 9)
  11   (quotation marks and citations omitted)), but Plaintiffs have not provided any reason
  12   to believe that reasonable minds could differ here.
  13          Defendants showed that Plaintiffs’ claimed similarities are “common or trite
  14   musical elements” or “non-protectible musical building blocks.” Gray, 2022 WL
  15   711246, at *6 (quoting Skidmore v. Led Zeppelin, 952 F.3d 1051, 1069 (9th Cir.
  16   2020)); see Mot. at 11-12. Plaintiffs do not dispute that.
  17          Instead, Plaintiffs first argue that “[a]ccess is beyond reasonable dispute.” Opp.
  18   at 7. But Skidmore, in abandoning the inverse ratio rule, held that “[a]ccess . . . in no
  19   way can prove substantial similarity.” Skidmore, 952 F.3d at 1069; see Mot. at 6-8.
  20   Plaintiffs argue that Skidmore’s abandonment of the inverse ratio rule is irrelevant
  21   because that rule was not applied in other Circuits and those Courts have not bifurcated
  22   discovery “to separate extrinsic similarity….” Opp. at 12. That, of course, does not
  23   change that access is irrelevant to substantial similarity. Further, Plaintiffs ignore that
  24   other Circuits do not apply the extrinsic test. See, e.g., Johannsongs-Publ’g, Ltd. v.
  25   Lovland, No. 20-55552, 2021 WL 5564626, at *1 (9th Cir. Nov. 29, 2021) (rejecting
  26   request that panel apply Second Circuit’s “ordinary observer” test in lieu of Ninth
  27   Circuit extrinsic/intrinsic test).
  28   ///
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Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 13 of 22 Page ID #:332




   1         Moreover, Plaintiffs do themselves no good by—apparently in an effort to taint
   2   Mr. Tesfaye as “a frequent copyright defendant”—citing the Court to Yeasayer, LLC
   3   et al. v. Tesfaye et al., 1:20-cv-01608. Opp. at 1-2 n.2. What Plaintiffs omit is that
   4   their counsel, Doniger & Burroughs, filed that case in the Southern District of New
   5   York; that the District Court ordered early expert disclosures as to the plaintiffs’ sound
   6   recording copyright claim; and that the order requiring early expert disclosures led to
   7   the plaintiffs confirming that “no copyright infringement occurred” and dismissing
   8   the case with prejudice. See, Yeasayer, LLC v. Tesfaye, U.S.D.C. Case No. 1:20-cv-
   9   01608-LGS (S.D.N.Y.) (Civil Case management Plan and Scheduling Order (Doc. 37)
  10   at 2, 3, and Stipulation of Dismissal with Prejudice (Doc. 44) (Dismissing case without
  11   any payment after Plaintiffs “confirmed to their satisfaction that no copyright
  12   infringement occurred”)).2
  13         Plaintiffs also argue that they may claim the allegedly similar unprotected
  14   elements are an original selection and arrangement. Opp. at 8. However, Skidmore
  15   also clarified that a selection and arrangement claim requires, inter alia, that the
  16   “works share, in substantial amounts, the ‘particular,’ i.e., the ‘same,’ combination of
  17   unprotectible elements” that “cohere to form a holistic musical design” that is a “new
  18   combination” and “novel arrangement.” Skidmore, 952 F.3d at 1075. Plaintiffs
  19   cannot satisfy those requirements.      See, e.g., Mot. at 10-11, 11-16 (identifying
  20   examples of differences between Vibeking and Call Out My Name and of prior art with
  21   same claimed similar elements);3 see also, e.g., McDonald v. West, 138 F. Supp. 3d
  22
       2
              That Mr. Tesfaye has been sued before is indicative of his success, not any merit
  23   to the claims asserted. See, e.g., Clover v. Tesfaye, No. 20-55861, 2021 WL 4705512
  24   (9th Cir. Oct. 8, 2021) (affirming grant of summary judgment to the Weeknd and the
       other defendants); see above at 5-6 regarding the dropped Yeasayer claim.
  25
       3
               Perhaps because of how much prior art exists in this case, Plaintiffs argue prior
  26   art is a patent concept that should not be considered in copyright infringement cases.
  27   Opp. at 6-7 n.6. Once again, the Court of Appeals disagrees. See, e.g., Skidmore, 952
       F.3d at 1071 (The rule that “any element from prior works . . . [is] not considered
  28   original parts and not protected by copyright” is “black-letter law.”); accord Gray,
                                                    6
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 14 of 22 Page ID #:333




   1   448, 460 (S.D.N.Y. 2015) (dismissing infringement claim for lack of similarity despite
   2   alleged combination of “shuffle beat, shuffle percussion, a slow tempo, the absence
   3   of a pronounced bass line, combined with the melodic phrasing, [and] theme”).
   4         Of course, Defendants do not expect the Court to decide these issues now. But,
   5   Plaintiffs’ failure to show how they can overcome that their claimed similarities are
   6   unprotectable as a matter of law confirms the existence of a potentially dispositive
   7   issue and that there is a good “chance that separation will lead to economy in
   8   discovery.”4 Moreno, 2013 WL 12123988 at *2 (citation omitted).
   9                (2)    Plaintiffs Fail to Identify Any Factual or Legal Issues,
  10                       Evidence, or Discovery that Overlap with the Extrinsic Test
  11         Another factor favoring bifurcation is that the “legal and factual issues . . . and
  12   evidence” relevant to the extrinsic test “are distinct and separable” from those relevant
  13   to other issues in the case, so that bifurcation will not cause overlap or duplication of
  14   discovery. Moreno, 2013 WL 12123988 at *2, 3; see Mot. at 16-17, 19-21.
  15         Plaintiffs simply proclaim that “because extrinsic similarity is not truly
  16   ‘separable’ . . . there will necessarily be ‘overlapping discovery.’” Opp. at 14. But
  17   Defendants have demonstrated that the issues and evidence relevant to both phases do
  18   not overlap. See Mot. at 16-21. In response, Plaintiffs fail to actually identify any
  19
       2022 WL 711246, at *8; Granite Music Corp. v. United Artists Corp., 532 F.2d 718,
  20
       720 (9th Cir. 1978); see also Johannsongs-Pub. Ltd. v. Loveland, No. CV 18-1009,
  21   2020 WL 2315805, at *5 (C.D. Cal. Apr. 3, 2020) (holding expert report inadmissible
       for failing to consider prior art), aff’d No. 20-55552, 2021 WL 5564626 (9th Cir. Nov.
  22
       29, 2021). Indeed, several years before Plaintiffs created Vibeking Mr. Tesfaye had
  23   already released songs that include the four-note sequence in a minor key that
       Plaintiffs claim he copied from them. See Mot. at 15-16.
  24
       4
              In arguing that the merits are not relevant here, Plaintiffs rely on cases holding
  25   that merits arguments are not sufficient to warrant bifurcation. Opp. at 6 (citing, inter
  26   alia, Mformation Techs., Inc. v. Rsch. in Motion Ltd., No. C 08-04990, 2012 WL
       1142537, at *7 n.32 (N.D. Cal. Mar. 29, 2012)). These cases are inapposite because
  27   Plaintiffs’ failure to demonstrate how they intend to overcome summary judgment is
  28   only one reason among many to order bifurcation.
                                                   7
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 15 of 22 Page ID #:334




   1   factual or legal issues or evidence that would result in overlapping discovery.5 See
   2   Bassil v. Webster, 220CV05099SBPDX, 2021 WL 1235258 at *2 (C.D. Cal. Jan. 15,
   3   2021) (granting bifurcation where plaintiffs “do not explain” how evidence in one
   4   phase will be duplicative of evidence in another phase and therefore “have not shown
   5   that this is an exceptional case of overlap.”).
   6         Plaintiffs argue that the extrinsic test is not separable from the issue of whether
   7   works share similarities probative of copying. They argue that probative similarity
   8   must be decided first (Opp. at 12), but there is no such rule. To the contrary, because
   9   the extrinsic test’s relevant similarities are narrower than those of probative similarity,
  10   if anything, the extrinsic test is properly decided first.
  11         That is so because the extrinsic test goes to the element of unlawful
  12   appropriation and, as a result, its relevant similarities “must involve protected
  13   elements of the plaintiff’s work.” Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th
  14   Cir. 2018), overruled on other grounds by Skidmore, 952 F.3d 1051. Probative
  15   similarity, on the other hand, goes to the question of whether copying even occurred
  16   and, as a result, its relevant similarities are broader because they “need not involve
  17   protected elements of the plaintiff’s works.” Rentmeester, 883 F.3d at 1117. For
  18   example, titles are not protected by copyright and, accordingly, are not similarities
  19   under the extrinsic test, but that two works have the same title may be probative of
  20   copying. Benay v. Warner Bros. Entm’t, 607 F.3d 620, 628 (9th Cir. 2010), overruled
  21   on other grounds by Skidmore, 952 F.3d 1051. Because the extrinsic test focuses only
  22   on protected expression, it is narrower and courts often grant summary judgment on
  23   the extrinsic test without deciding whether copying in fact occurred. See, e.g., Funky
  24
  25   5
              In fact, Plaintiffs’ own authorities show that, since separability is merely a
  26   factor for the Court to consider, the Court can order bifurcation even if there were
       overlapping factual evidence or witnesses. Lutron Elec. Co., Inc. v. Crestron Elec.,
  27   Inc., No. 09–cv–00707, 2013 WL 2099739, at *1 (D. Ut., May. 14, 2013) (bifurcating
  28   claims despite overlapping fact witnesses).
                                                     8
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 16 of 22 Page ID #:335




   1   Films, Inc. v. Time Warner Entm’t Co., L.P., 462 F.3d at 1081-82 (9th Cir. 2006);
   2   Benay, 607 F.3d at 629; Johannsongs-Pub., 2020 WL 2315805 at *4.
   3         Plaintiffs fail to recognize that the extrinsic test is distinct and narrower than
   4   the question of probative similarity. Plaintiffs also fail to identify any probative
   5   similarities in unprotected expression beyond their claimed similarities in music.
   6   Plainly, the works have different titles, and probative similarities such as false entries
   7   in directories would not apply here. See, e.g., Feist Publ’ns, Inc. v. Rural Tel. Serv.
   8   Co., 499 U.S. 340, 344 (1991) (appearance of four fictitious listings in telephone
   9   directory was evidence of copying). Plaintiffs have not identified anything that would
  10   need to be decided twice or would necessitate multiple depositions of the same
  11   witnesses or duplicate written discovery. Plaintiffs’ reliance on similarities probative
  12   of copying is unsubstantiated and a red herring.
  13         The extrinsic test is narrow and distinct, which favors bifurcation.
  14                (3)    Bifurcation Will Defer Extensive and Potentially Unnecessary
  15                       Discovery
  16         Perhaps the most obvious reason to bifurcate the extrinsic test and stay
  17   discovery on other issues is that the extrinsic test can be decided merely on the basis
  18   of the works and the two musicologists’ reports and testimony, whereas Defendants
  19   have shown in detail that discovery as to other issues will be exceptionally time-
  20   consuming, expensive, and intrusive. See Mot. at 17-21. Thus, all fact and other
  21   expert discovery in this case will have been pointless if the Court finds that Plaintiffs
  22   cannot meet the extrinsic test. This factor clearly weighs in favor of bifurcation. See
  23   Craigslist Inc. v. 3Taps Inc., 942 F. Supp. 2d 962, 982 (N.D. Cal. 2013) (“One
  24   permissible reason to bifurcate is to defer costly discovery . . . until [a] potentially
  25   dispositive issue has been resolved.”) (citing Ellingson, 424 F.2d at 499).
  26         Plaintiffs argue that the possibility of avoiding all of this wasteful discovery is
  27   nevertheless not a legitimate reason to bifurcate because it is “speculative” whether
  28   the extrinsic test will be “outcome []determinative.” Opp. at 3, 14-15 (“the possibility
                                                    9
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 17 of 22 Page ID #:336




   1   that bifurcation may result in eliminating [the case] does not equate to conserving
   2   resources.”). But it is a certainty, not speculation, that bifurcation will “defer costly
   3   discovery.” Craigslist Inc., 942 F. Supp. 2d at 982 (emphasis added). In any event,
   4   the appropriate consideration is whether there is a “chance that separation will lead to
   5   economy in discovery,” not whether Defendants are guaranteed to win the case at the
   6   end of the first phase. Moreno, 2013 WL 12123988 at *2 (emphasis added; citations
   7   omitted); Craigslist, 942 F. Supp. 2d at 982 (“the likelihood of streamlining discovery
   8   for and adjudication of the antitrust counterclaims . . . warrants bifurcation”)
   9   (emphasis added); Bassil, 2021 WL 1235258 at *3 (“Bifurcation would enable
  10   Defendants to move for summary judgment before the parties engage in onerous
  11   damages discovery . . . . If the motion is granted, bifurcation would have benefitted
  12   everyone”). And Defendants have shown that this chance exists here.
  13         Acknowledging the heavy burden of discovery as to remedies, Plaintiffs
  14   suggest bifurcating damages. Opp. at 15. Plaintiffs claim, without support, that
  15   discovery into access will not be burdensome. Yet, Plaintiffs implicitly concede that,
  16   at the very least, discovery as to access will include depositions of multiple “percipient
  17   fact witnesses.” Id. Further, the non-extrinsic test liability issues are not limited to
  18   access and include, for example, the facts relevant to Plaintiffs’ claims that each
  19   defendant is directly, vicariously, and contributorily liable for the alleged copyright
  20   infringement. See Mot. at 19.
  21         Bifurcation ensures that the time, effort, expense, and burden of that discovery
  22   is deferred and ultimately borne only if Plaintiffs can establish substantial similarity
  23   under the extrinsic test.
  24                (4)    Bifurcation Will Not Be Inefficient, Wasteful, or “Multiply the
  25                       Proceedings”
  26         While Plaintiffs do not seriously dispute that bifurcation would spare the parties
  27   and the Court significant resources and time if Defendants’ initial summary judgment
  28   ///
                                                   10
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 18 of 22 Page ID #:337




   1   motion is granted, Plaintiffs also fail to show why “efficiency and expediency are best
   2   served” by denying bifurcation. Opp. at 13.
   3         Plaintiffs’ argument here is that “adjudicating one issue multiple times ‘would
   4   result in substantial redundancy – counter to the goal of judicial economy.’” Opp. at
   5   14 (citing Reed v. AutoNation, Inc., No. CV1608916, 2017 WL 6940519 at *7 (C.D.
   6   Cal. Apr. 20, 2017)). But Defendants are not seeking to adjudicate one issue multiple
   7   times; Defendants have already demonstrated that there are no factual, legal, or
   8   evidentiary issues overlapping between the two phases, and Plaintiffs have not
   9   identified any either.   See Mot. at 16-21; Opp. at 10-15. For similar reasons,
  10   bifurcation will not “multiply the proceedings” or “result in twice as many conflicts,”
  11   as Plaintiffs baselessly claim (Opp. at 18), but will simply result in “initial discovery
  12   that may foreclose later discovery proceed[ing] first.” Wixen, 2021 WL 4816627 at
  13   *1 (granting bifurcation of discovery and dispositive motions into initial phase to
  14   determine standing and ownership issues and second phase for remaining liability
  15   issues and damages; no showing of overlapping discovery); cf. Reed, 2017 WL
  16   6940519 at *7 (bifurcation of standing denied; standing turned on whether plaintiff
  17   was required to comply with defendant’s insurance policies and liability turned on
  18   content of the policies, causing “overlapping discovery”). Plaintiffs have thus failed
  19   to show that bifurcation would be inefficient, let alone that it would be so inefficient
  20   as to outweigh the efficiencies of deferring substantial discovery until necessary, and
  21   quite possibly preventing it entirely.
  22                (5)    Plaintiffs Fail to Show Any Legitimate Prejudice from
  23                       Bifurcation
  24                              Plaintiffs Can Meet the Proposed Disclosure and
  25                              Discovery Dates for the Extrinsic Test
  26         Plaintiffs do not dispute that they, like Defendants, already have retained a
  27   musicologist. Mot. at 2. Plaintiffs have known since the February 24, 2022, Local
  28   Rule 7-3 pre-filing conference that Defendants propose early expert disclosures
                                                  11
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 19 of 22 Page ID #:338




   1   beginning April 22, 2022, and that also is reflected in the proposed Order that
   2   Defendants submitted with the Motion to Bifurcate. See [proposed] Order (Doc. 51-
   3   2) at 1. Plaintiffs do not claim to be unable to meet the proposed dates.
   4                             Defendants Did Not “Concede That Bifurcation Will
   5                             Delay Proceedings by at Least Three Months”
   6         As the Motion makes clear, bifurcation will not cause Plaintiffs to suffer any
   7   undue prejudice, including any appreciable delay. See Mot. at 21-23.
   8         Plaintiffs misread Defendants’ Motion in claiming that Defendants “conced[ed]
   9   that the proposed bifurcation will delay proceedings by at least three months.” Opp.
  10   at 16. Defendants stated that the first phase of discovery can be completed in 90 days,
  11   and since bifurcation “will merely rearrange the sequence of discovery” (Mot. at 22),
  12   that means discovery in the second phase will be completed in 90 fewer days. In fact,
  13   the parties’ Joint Rule 26(f) Report demonstrates that Defendants have proposed the
  14   same trial date with bifurcation as Plaintiffs have without. See Jt. R. 26(f) Report
  15   (Doc. 58) at 18, Ex. C (Doc 58-3).
  16         But even if bifurcation would result in a delay of three months (or even six
  17   months, see Opp. at 15), such a comparatively minor delay does not outweigh the
  18   potentially massive waste of time and money caused by adjudicating the extrinsic test
  19   after the close of fact discovery. Wixen, 2021 WL 4816627 at *4 (prejudice of “some
  20   delay” is outweighed by “forcing defendants to proceed with costly discovery”); cf.
  21   Johnson v. Tuff N Rumble Mgmt., Inc., No. Civ. A 99-1374, 2000 WL 690287 at *2
  22   (E.D. La. May 26, 2000) (holding “uncertainty” in obtaining “some economy in cost
  23   of discovery” does not outweigh “considerable delay” caused by bifurcation); Beco
  24   Dairy Automation, Inc. v. Glob. Tech Sys., Inc., No. 112CV01310LJOSKO, 2016 WL
  25   5870117 at *4 (E.D. Cal. Oct. 6, 2016) (delay of one year weighed against bifurcating
  26   case that was “already plagued with delays”).
  27         And Plaintiffs’ purported concern that delay will result in spoliation and
  28   forgetful witnesses is belied by the facts of this case. Opp. at 15. Plaintiffs delayed
                                                 12
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 20 of 22 Page ID #:339




   1   filing this lawsuit until three and a half years after Call Out My Name was released
   2   and still have not served all defendants. See Compl. at 15, ¶ 54. Plaintiffs have thus
   3   failed to identify any nonspeculative delay sufficient to warrant denying bifurcation.
   4                              Bifurcation Will Not Give Defendants “Two Bites at the
   5                              Apple,” “Force Plaintiffs to Take the Case to Trial,” or
   6                              “Contravene the Court’s Standing Order”
   7         According to Plaintiffs, the aspect of bifurcation that will cause them the “most
   8   undue prejudice” is that summary judgment briefing would be divided into two
   9   discrete phases on separate issues. Opp. at 18. Yet none of the purported negative
  10   consequences Plaintiffs advance are legitimate considerations.
  11         First, Plaintiffs complain that Defendants will get “multiple bites at the apple,”
  12   or a “mulligan on liability,” because the Court might find a triable issue of fact as to
  13   the extrinsic test, then grant summary judgment for Defendants as to a different
  14   element of liability after the second phase. Opp. at 14, 18. But the Court might reach
  15   that result on a single summary judgment motion, too—this purported “prejudice” is
  16   nothing more than the burden Plaintiffs bear to prove the elements of their claim. See
  17   Skidmore, 952 F.3d at 1064 (plaintiff must prove elements of infringement). And for
  18   obvious reasons, it is not prejudicial that if the Court “finds a triable issue” as to the
  19   extrinsic test, Plaintiffs will have “to take [their] case to and through trial.” Opp. at 4.
  20         Second, Plaintiffs claim bifurcation will deprive them of the right to seek
  21   summary judgment. Opp. at 4, 18. While Plaintiffs offer nothing to suggest they
  22   would have a viable motion for summary judgment as to liability, they can, pursuant
  23   to the Rules of Civil Procedure and this Court’s Standing Order, seek to have summary
  24   judgment granted in their favor. See Fed. R. Civ. P. 56(a) (A party may move for
  25   summary judgment on a “part” of a claim); Standing Order (Doc. 10) at 8 (explaining
  26   that cross-motions are not allowed but that, “when appropriate . . . the Court may sua
  27   sponte enter summary judgment in favor of the nonmoving party”).
  28   ///

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Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 21 of 22 Page ID #:340




   1         Third, Plaintiffs claim prejudice because multiple summary judgment motions
   2   will result in “double the pages, which contravenes the Court’s Standing Order.” Opp.
   3   at 18. While Plaintiffs are speculating as to the length of Defendants’ summary
   4   judgment memoranda, even if the combined pages of Defendants’ briefs exceed
   5   twenty-five, that would hardly be prejudicial—Plaintiffs will also receive double the
   6   pages. And additional briefing is certainly not so prejudicial as to outweigh the
   7   prejudice of forcing dozens of defendants to endure unnecessary discovery. Finally,
   8   nothing about Defendants’ Motion contravenes the Court’s Standing Order, which
   9   permits more than one summary judgment motion where “good cause exists.”
  10   Standing Order (Doc. 10) at 8). Defendants expressly argued in this Motion that the
  11   benefits of bifurcation establish good cause to permit more than one summary
  12   judgment motion. See Mot. at 22-23.
  13         Plaintiffs have accordingly failed to show any prejudice warranting denial of
  14   bifurcation, and the Motion should be granted.
  15         (c)    Good Cause Exists to Grant Defendants’ Alternative Relief
  16         Finally, Defendants raised as an alternative that if the Court declines to stay
  17   discovery as to other issues pending a decision on the extrinsic test, the Court should
  18   order early expert disclosures and expert discovery as to the extrinsic test and to permit
  19   an additional summary judgment motion. Good cause is established because the
  20   extrinsic test “is a threshold issue [that] may preclude a plaintiff’s claim,” Reed, 2017
  21   WL 6940519 at *7 (emphasis added), and should not be deferred until the completion
  22   of fact and other discovery. See Mot. at 23-24. Plaintiffs fault Defendants for not
  23   seeking leave to file an early summary judgment motion without prejudice to a second,
  24   if necessary (Opp. at 21), but that is what this Motion seeks. See Notice of Mot. (Doc.
  25   51) at 1. In any event, Plaintiffs’ failure to provide any good reason not to order
  26   bifurcation moots the need for this alternative relief.
  27   ///
  28   ///
                                                   14
Case 2:21-cv-07488-FLA-KES Document 59 Filed 03/25/22 Page 22 of 22 Page ID #:341




   1   3.    CONCLUSION
   2         For the foregoing reasons, this Court should grant Defendants’ Motion in full.
   3
   4   Dated: March 25, 2022                           /s/ Peter Anderson
   5                                                  Peter Anderson, Esq.
                                                     Sean M. Sullivan, Esq.
   6                                                  Eric H. Lamm, Esq.
                                                DAVIS WRIGHT TREMAINE LLP
   7                                                Attorneys for Defendants
                                              ABEL TESFAYE, HAL LEONARD LLC,
   8                                           UNIVERSAL MUSIC GROUP, INC.,
                                             UNIVERSAL MUSIC PUBLISHING, INC.,
   9                                              UNIVERSAL MUSIC CORP.,
                                              MATTITUDE MUSIC LLC, HIPGNOSIS
  10                                          SONGS GROUP, LLC, APPLE INC., and
                                                     AMAZON.COM, INC.
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